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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

Absolute Architecture, P.C.
                                    Plaintiff,
v.                                                 Case No.: 1:13−cv−07865
                                                   Honorable Sharon Johnson Coleman
Gabby Investments, LLC, et al.
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 6, 2014:


        MINUTE entry before the Honorable Sharon Johnson Coleman: Pursuant to
FRCvP 41(a)(1)(A)(i), Plaintiff hereby dismisses this action with prejudice as to Plaintiffs
individual claims, and without prejudice as to the class claims. Status and motion hearings
set to 3/17/2014 are hereby stricken. Plaintiff's motion to certify class [3] is moot. Civil
case terminated. Mailed notice(rth, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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